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                                                              t:;';JH:D STATES DISTRICT COl'RT
                                                        FOR THE EASTER"'i DISTRICT OF PE~:'ISYLVA1''A
                                                                                                                           19
                                                                           DESIG~A TIO!'i FORl\1
                      (to be used b-; counsel or pro se plamtljf to md1cate the category of the case for the purpose of assignment to the appropriate calendar)

Address of Plaintiff:                             5011 Wissahickon Avenue, Philadelphia, Pennsylvania 19144
                                                                                                  --              ---
Address of Defendant:                                                                       (See attached)

Place of Accident, Incident or Transaction: .                                                 Philadelphia, Pennsylvania


RELATED CASE, IF ANY:

Case Number                                                       Judge·                                                     Date T ermmated

C1v1I cases are deemed related when Yes- 1s answered to any of the followmg questions

       Is this case related to propert:i, mcluded m an earlier numbered smt pendmg or withm one year                            YesD
       prev10usly termmated action m this court?

2      Does this case mvolve the same issue of fac.t or grow out of the same transaction as a pnor suit                         YesD
       pendmg or within one year previously termmated act10n m this court?

3      Does this case involve the vahdit:i, or infrmgement of a patent already m smt or any earlier                             YesO
       numbered case pending or w1thm one year prev10usly termmated action ofth1s court?

4      ls this case a second or successive habeas corpus, social secunty appeal, or pro se civil nghts                          YesO
       case filed by the same md1vidual?

I certify that, to my knowledge, the withm case
this court except as noted above.

DAT},               ~- /1 - I Cf
                                                                           Attorney-at-Law,. Pro Se Plamujf                               Attorney ID   #   (if applicable)


CIVIL: (Place a , in one category only)

A.            Federal Question Cases:                                                       B.    Diversity Jurisdiction Cases:

D1            lndemnit:i, Contract, Marme Contract, and All Other Contracts                 01          Insurance Contract and Other Contracts
D 2           Fl:LA                                                                         D 2.        Airplane Personal Injury
D 3           Jones Act-Personal Injury                                                     03          Assault, Defamation
D 4           Antitrust                                                                                 Marine Personal Injury

B ~-          Patent                                                                                    Motor Vehicle Personal Injury




                                                                                         ®
              Labor-Management Relat10ns                                                                Other Personal Injury (Please specify)
o      7      ClVII Rights                                                                              Products Liability
D s           Habeas Corpus                                                                             Products I .iab11ity Asbestos

B
D
  io    II
              Securities Act(s) Cases
              Social Secunty Review Cases
              All other Federal Quest10n Cases
                                                                                                        All other D1vers1ty Cases
                                                                                                        (Please specify)

               (Please specif,)



                                                                               ARBITRATION CERTIFICATION
                                                    (The efjec t of this certification 1s to remove the case from ebg1bzbty for arbllratwn)

I,                  William
                    _ _           J. _Ricci       _ _ . , counsel of record or pro se plamt1ff, do hereby certify

'~./
  I             ursuant to Local CIVIi Rule 53 2, § 3(c) (2), that to the best ofmy knowledge and belief, the damages recoverable m this civil action case
                 ceed the sum of $150,000 00 exclusive of mterest and costs

              Relief other than monetary damages 1s sought



DATE _ _              ij;'/Jf __                                                                                                                 27708
                                                                                                                                          Attorney I D # (if applicable)

NOTE A tnal de novo will be a tnal by Jury only 1f there has been comphance With F RC P 38

C,v 609 (S/20 J8J


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